Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13        PageID.3302    Page 1 of 10



                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
 State Farm Mutual Automobile                  )
 Insurance Company,                            )
                                               )
                                   Plaintiff,  ) No. 5:12-cv-11500-JCO-DRG
                                               )
                      v.
                                               ) Hon. John C. O’Meara
 Physiomatrix, Inc., Genex Physical Therapy,   )
 Inc., Kallil I. Kazan, D.C., Naim Khanafer,   ) Magistrate Judge David R. Grand
 D.C., Sami Abu Farha, M.D., Sami Abu Farha, )
 M.D., P.C., Tete Oniang’o, M.D., and Tete     )
 Oniang’o, M.D., P.L.L.C.,                     )
                                               )
                                   Defendants. )

                   STATE FARM’S RESPONSE
                IN OPPOSITION TO NONPARTIES
         KENNETH JACKSON AND K JACKS INVESTIGATIVE
      CONSULTING’S MOTION TO QUASH SUBPOENAS (DOC. 133.)
       State Farm Mutual Automobile Insurance Company (“State Farm”) hereby

 responds to nonparties Kenneth Jackson and K Jacks Investigative Consulting’s

 (collectively, “Jackson”) Motion to Quash Subpoenas (“Motion”). (Doc. 133.)

       I.     INTRODUCTION

       State Farm’s Motion to Compel and its Supplemental Brief detail Jackson’s

 role as a “runner” to illegally solicit auto accident victims to be represented by the

 law firms of Michael Morse (“the Morse firm”) and Weiner & Associates, PLLC

 (“the Weiner firm”) and to receive medically unnecessary treatment at the

 defendant clinics in this case, Physiomatrix and Genex (“Clinics”). (Doc. 110 at
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13      PageID.3303    Page 2 of 10



 27-31.) Rather than confront any of State Farm’s unrebutted evidence, Jackson’s

 response brief (Doc. 124) tries to shield his records from discovery by taking an

 exceedingly narrow view of the standard of relevance and by relying on boilerplate

 and inapplicable privilege objections.

        In addition to objecting to the subpoenas served on Jackson, Jackson now

 moves to quash nine other State Farm subpoenas. Six of these nine subpoenas

 have nothing to do with Jackson. The three remaining subpoenas that do relate to

 Jackson seek only non-privileged commercial records reflecting telephone calls,

 and two of those subpoenas are moot.

        Jackson’s Motion rehashes the same flawed arguments that he raised in his

 response to State Farm’s Motion to Compel. (Doc. 124.) Because State Farm has

 already addressed these arguments, it incorporates the arguments and authorities

 discussed in its reply brief to Jackson’s response to the Motion to Compel. (Doc.

 130.) Because Jackson has failed to include the subpoenas that are the subject of

 his Motion, State Farm submits this brief response to discuss the records sought by

 these nine subpoenas and to place the subpoenas into the proper context. All of

 these subpoenas seek highly relevant information that is not protected by any

 privilege. For the reasons discussed below, Jackson’s Motion should be denied in

 its entirety.




                                          2
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13        PageID.3304    Page 3 of 10



 II.   DISCUSSION

       State Farm has issued several subpoenas in the past few weeks to gather

 evidence regarding the unlawful solicitation activities of the Defendants, Jackson,

 and the Morse and Weiner firms. These activities were essential to the success of

 the scheme because the scheme would not work without patients.

       In his Motion, Jackson challenges the nine subpoenas issued to other entities

 “to the extent they request information related” to Jackson, his business, or his cell

 phone number. (Doc. 133 at 6.) As discussed below, only three of these nine

 subpoenas relate to Jackson and two of those are now moot. The remaining

 subpoenas seek records from nonparties and do not request any information

 relating to Jackson, so his Motion should be denied.

       A.     Subpoenas Seeking Jackson’s Phone Records

       State Farm issued a subpoena to wireless carrier T-Mobile USA seeking

 records reflecting all outgoing and incoming calls and text messages for the phone

 number (313) 231-6366 and for any account held by Jackson.              (Ex. 1.)   As

 discussed at pages 7 through 9 of State Farm’s Supplemental Brief, AT&T records

 show that Jackson frequently contacted Defendants Naim Khanafer and Kallil

 Kazan using this number. Jackson also uses this number on his business card,

 which he gives to State Farm insureds after making illegal in-person solicitation




                                           3
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13      PageID.3305    Page 4 of 10



 visits on behalf of the Clinics and/or the Morse and Weiner firms. (See Doc. 115,

 Ex. 4.)

       In response to the subpoena, T-Mobile advised State Farm that it did not

 maintain the records sought by the subpoena and that State Farm should direct a

 new subpoena to its affiliate, IDT. State Farm then issued an identical subpoena to

 IDT. (Id.) IDT also informed State Farm that it did not possess the requested

 records, and advised State Farm to issue a subpoena to TracFone, which State

 Farm did on August 23. (Id.) Thus, T-Mobile USA and IDT will not be producing

 any records in response to their subpoenas, and Jackson’s Motion with respect to

 these subpoenas is moot. TracFone has not yet complied with the subpoena.

       Jackson also lacks standing to seek to quash the subpoenas to T-Mobile, IDT

 or TracFone. See Corsair Special Situations Fund, L.P. v. Engineered Framing

 Systems, Inc., 2011 WL 3651821, at *2 (D. Md. Aug. 27, 2011) (holding party had

 no standing to quash subpoena to wireless carrier, explaining “a person has no

 legitimate expectation of privacy in the numbers dialed on his or her phone);

 United States v. Powell, 2013 WL 1876761, at *8 (E.D. Mich. May 3, 2013)

 (“there is no reasonable expectation of privacy in cell phone records”). Even if

 Jackson did have standing to seek to quash the subpoenas, the requested phone

 records are highly relevant because they will establish that Jackson telephoned

 State Farm’s insureds to solicit them following their accidents, and will also

                                         4
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13         PageID.3306   Page 5 of 10



 establish the frequency of his communications with the Defendants and the Morse

 and Weiner firms. This evidence is relevant to the solicitation and quid pro quo

 referral relationship described in State Farm’s Complaint.

       B.    State Farm’s Other Subpoenas to Non-Parties

       Jackson’s motion to quash as it relates to six other subpoenas should also be

 denied because these subpoenas seek records from other nonparties that have

 nothing to do with Jackson. These subpoenas are briefly discussed below to place

 them in the proper context.

             1.     Cellco Partnership d/b/a Verizon Wireless (“Verizon”)

       State Farm issued a subpoena to Verizon seeking all phone records related to

 (313) 354-3151. As discussed at pages 7 through 10 of State Farm’s Supplemental

 Brief, Defendants Kazan and Khanafer used this phone number to purchase

 thousands of crash reports from Iyetek and DocView, and to communicate

 extensively with Jackson, runner Sarah Vidican DeSanto, and the Clinics. (Doc.

 115 at 7-10.) AT&T produced records confirming that the account belonged to

 Kallil Kazan, but the phone number was transferred to Verizon in February 2011.

 (Id. at 7.) The Verizon subpoena seeks all records for the (313) 354-3151 and

 accounts used by Kazan, Khanafer or their alias David Maskalski. (Ex. 2.)




                                          5
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13      PageID.3307       Page 6 of 10



              2.    Sprint

       State Farm issued a subpoena to Sprint seeking all phone records for

 (248) 470-7007, the number used by runner Sarah Vidican DeSanto to illegally

 solicit State Farm insureds, as discussed at pages 9 and 10 of the Supplemental

 Brief. (Ex. 3.)

              3.    Comerica Bank

       After Iyetek produced the previously withheld cashier’s check used by the

 Defendants’ fictitious “Auto Assurance” business to purchase crash reports, State

 Farm issued a subpoena to Comerica Bank seeking all records relating to the

 cashier’s check. (See Doc. 129 at 2.) (Ex. 4.)

              4.    PNC Bank

       Iyetek also produced the unredacted VISA credit card number used by Auto

 Assurance to purchase thousands of crash reports.        (Doc. 129.)    State Farm

 determined that this credit card was issued by PNC Bank, and issued a subpoena to

 PNC Bank seeking all records related to the credit card account. (Ex. 5.)

              5.    Bahiya Fawaz, CPA, P.C.

       Over the past several weeks, Physiomatrix, Genex, Kazan and Khanafer

 have begun to produce their tax returns in response to State Farm’s discovery

 requests, which they had previously objected to producing. To obtain additional

 records not produced by the Clinic Defendants, State Farm issued a subpoena to

                                          6
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13      PageID.3308    Page 7 of 10



 Bahiya Fawaz, CPA, P.C., the accounting firm that prepared the tax returns for

 Kazan, Khanafer, Physiomatrix and Genex, seeking copies of filed tax returns,

 requests for extension to the IRS, general ledgers, and work papers used to prepare

 the Clinic Defendants’ tax returns. (Ex. 6.)

              6.    Paramount Accounting Services

        State Farm also issued a similar subpoena to Paramount Accounting

 Services, the accounting firm which prepared Kazan’s tax returns for 2007 and

 2008, and at least the 2008 tax return for Kazan’s chiropractic practice that

 operated at the Physiomatrix location, seeking tax records and supporting

 documentation. (Ex. 7.)

 III.   CONCLUSION

        Jackson has offered no basis to support quashing any of the subpoenas

 addressed in his Motion. Therefore his motion to quash should be denied.




                                          7
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13   PageID.3309   Page 8 of 10



 Dated: September 23, 2013

                                       By: /s/ Ross O. Silverman

                                       Ross O. Silverman
                                       Kathy P. Josephson
                                       Eric T. Gortner
                                       Patrick C. Harrigan
                                       KATTEN MUCHIN ROSENMAN, LLP
                                       525 W. Monroe Street, Suite 1600
                                       Chicago, Illinois 60661-3693
                                       (312) 902-5293
                                       ross.silverman@kattenlaw.com
                                       kathy.josephson@kattenlaw.com
                                       eric.gortner@kattenlaw.com
                                       patrick.harrigan@kattenlaw.com

                                       - and -

                                       Morley Witus
                                       BARRIS SOTT DENN & DRIKER
                                       211 W. Fort Street Suite 1500
                                       Detroit, MI 48226-3281
                                       313-965-9725
                                       mwitus@bsdd.com
                                       ATTORNEYS FOR STATE FARM




                                       8
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13           PageID.3310   Page 9 of 10



                           CERTIFICATE OF SERVICE
       I hereby certify that on September 23, 2013, that a true and correct copy of

 the foregoing was served via the Court’s CM/ECF system to the following

 attorneys of record for parties in this case:

 Gary R. Blumberg                                Matthew J. Hoffer
 30665 Northwestern Hwy – Suite 200              Shafer and Assoc.
 Farmington Hills, MI 48334                      3800 Capital City Boulevard – Suite 2
 248-254-3401                                    Lansing, MI 48906
 248-254-3404 (fax)                              517-886-6560
 gbtrop@aol.com                                  matt@bradshaferlaw.com
 Attorney for Physiomatrix, Inc., Genex          Attorney for Physiomatrix, Inc., Genex
 Physical Therapy, Inc., Kallil Kazan,           Physical Therapy, Inc., Kallil Kazan,
 D.C., and Naim Khanafer, D.C.                   D.C., and Naim Khanafer, D.C.

 Bradley J. Shafer                               Peter W. Joelson
 Shafer and Assoc.                               Joelson, Rosenberg
 3800 Capital City Boulevard – Suite 2           30665 Northwestern Highway – Suite
 Lansing, MI 48906                               200
 517-886-6560                                    Farmington Hills, MI 48334
 info@bradshaferlaw.com                          248-626-9966
 Attorney for Physiomatrix, Inc., Genex          pjoelson@joelsonrosenberg.com
 Physical Therapy, Inc., Kallil Kazan,           Attorney for Physiomatrix, Inc., Genex
 D.C., and Naim Khanafer, D.C.                   Physical Therapy, Inc., Kallil Kazan,
                                                 D.C., and Naim Khanafer, D.C.

 David W. Warren                                 Brendan H. Frey
 Joelson, Rosenberg                              Mantese and Rossman, PC
 30665 Northwestern Hwy. – Suite 200             1361 E. Big Beaver Road
 Farmington Hills, MI 48334                      Troy, MI 48083
 248-855-2233                                    248-457-9200
 dwwarren@joelsonrosenberg.com                   248-457-9201 (fax)
 Attorney for Physiomatrix, Inc., Genex          bfrey@manteselaw.com
 Physical Therapy, Inc., Kallil Kazan,           Attorney for the Abu Farha Defendants
 D.C., and Naim Khanafer, D.C.
Case 5:12-cv-11500-JCO-DRG ECF No. 137 filed 09/23/13   PageID.3311   Page 10 of 10



  Gerard V. Mantese                       Craig S. Romanzi
  Mantese Assoc.                          Craig S. Romanzi Assoc.
  1361 E. Big Beaver Road                 2850 Dixie Highway
  Troy, MI 48083                          Waterford, MI 48328
  248-457-9200                            248-674-4404
  gmantese@manteselaw.com                 craig@romanziatnip.com
  Attorney for the Abu Farha Defendants   Attorney for the Oniang’o Defendants

  Justin Haas                             I. W. Winsten
  Haas & Goldstein, PC                    Honigman Miller Schwartz and Cohn
  31275 Northwestern HWY – Suite 225      LLP
  Farmington Hills, MI 48334              2290 First National Building
  248-702-6550                            660 Woodward Ave
  Attorney for Kenneth Jackson and        Detroit, MI 48226
  K. Jacks Investigative Consulting       iww@honigman.com
                                          Attorney for Michael Morse P.C.

  Ben M. Gonek                            Robert C. Rutgers, Jr.
  Giarmarco, Mullins & Horton, P.C.       Rhoades, McKee
  Tenth Floor Columbia Center             161 Ottawa Avenue NW
  101 W. Big Beaver Road                  Suite 600
  Troy, MI 48084                          Grand Rapids, MI 49503
  bgonek@gmhlaw.com                       612-233-5187
  Attorney for Weiner & Associates        Attorney for Iyetek, LLC
